MASXP-2011)425 Case 1:14-cv-10914C WMG ondealthh off Masbaleti9Gi28/14 Page 1 of 42 03/26/2014
grahdapri PLYMOUTH SUPERIOR COURT 09:11 AM

Case Summary
Civil Docket

PLCV2014-00256
Silveus v Brockton et al

Status Disposed: transfered to other court (dtrans)

 

: File Date 03/06/2014

 

 

Status Date 03/25/2014 Session A- Civil A- CtRm 5 (Brockton)
Origin 1 - Complaint Case Type 03 - Action against Commonwealth/municpi

Track A - Average track Lead Case Jury Trial Yes

         

    
    

 

    

       

Service | Answer |Rule12/19/20| Rule15 | Discovery | Rule 56 | FinalPTC | Judgment _

 

 

 

 

 

 

 

 

 

 

Served By 07/04/2014 | 04/30/2015 | 02/24/2016 | 03/25/2016
Filed By 06/04/2014 | 07/04/2014 | 08/03/2014 | 05/30/2015 04/24/2016 02/18/2017
‘Heard By - 09/02/2014 | 05/30/2015 : 08/22/2016 |

 

 

 

 

 

 

 

 

    

 

| Plaintiff a Private Counsel 631845
| Ben Silveus Daniel M Hutton
| Active 03/06/2014 Lipis, Vasa & Hutton, P.C.

6 Cabot Place Unit 8
Stoughton, MA 02072
Phone: 781-341-4841
Fax: 781-341-1834
Active 03/06/2014 Notify

Defendant

City of Brockton

Served: 03/07/2014

Served (answr pending) 03/07/2014

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Defendant S72 ow m
Mark Celia z>5 UV QY
Served: 03/07/2014 i ™
Served (answr pending) 03/07/2014 oO = 3S co
w= Oo ant

Defendant

William Schleiman

Served: 03/07/2014

Served (answr pending) 03/07/2014

 

 

 

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MASXP-20119425 = Case 1:14-cv-10914€N hi fiorbaalth efi askaldauSe788/14 Page 2 of 42 03/26/2014
grahapri PLYMOUTH SUPERIOR COURT 09:11 AM
Case Summary

Civil Docket

PLCV2014-00256
____ Silveus v Brockton et al

- Defendant
' Kathy DaSilva

_ Service pending 03/06/2014

| Defendant

Eric Burke

| Served: 03/07/2014

| Served (answr pending) 03/07/2014
|

 

 

 

 

 

Date Paper Text

03/06/2014 = 1.0 Complaint & civil action cover sheet filed demand for jury trial (chk
rec'd in hand for $295.00 and four Brockton summons in hand)
03/06/2014 2.0 Plaintiff Ben Silveus's MOTION for appointment of special process

| server Jerrold Loomis, constable field and ALLOWED (Leo Foley, asst

03/06/2014 Origin 1, Type E03, Track A.
clerk) in hand
|
|

03/07/2014 3.0 SERVICE RETURNED: Mark Celia(Defendant)

03/07/2014 4.0 SERVICE RETURNED: William Schleiman(Defendant)

03/07/2014 5.0 SERVICE RETURNED: City of Brockton(Defendant)
03/07/2014 6.0 SERVICE RETURNED: Eric Burke(Defendant) |
03/13/2014 Tracking order sent

03/25/2014 7.0 Case REMOVED this date to US District Court of Massachusetts by Deft:

 

 

 

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Case 1:14-cv-10914-NMG Document 5 Filed 03/28/14 Page 3 of 42

COMMONWEALTH OF MASSACHUSETTS

PLYMOUTH, SS. SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
BROCKTON DIVISION

CIVIL ACTION NO: QO\W — So

   

BEN SILVEUS, ) [oe
Plaintiff dp oe
) | SYGOMPLAINT AND DEMAND
Vv. i FOR JURY TRIAL "—
) 1
THE CITY OF BROCKTON, )
MARK CELIA, WILLIAM )
SCHLIEMAN, and ERIC BURKE, )
Defendants
1, Plaintiff, Ben Silveus, is an individual residing who resides with his mother, Carla

Monteiro, at 366 Linwood Street, Brockton, Plymouth County, Massachusetts.

2. The City of Brockton is an incorporated government entity within the
Commonwealth of Massachusetts and with the responsibility to provide all necessary
public safety services within its territory

3. The City of Brockton has its own police department known as the Brockton Police
Department which provides necessary public safety services and is located at 7
Commercial Street, Brockton, Plymouth County, Massachusetts.

4, Defendant, Mark Celia, is a police sergeant employed at all times relevant to
this Complaint by the City of Brockton Police Department.

5, Defendant, William Schlemman, is a police officer employed at all times relevant to
this Complaint by the City of Brockton Police Department and has Badge Number
482.

6. Defendant, Kathy DaSilva, is a police officer employed at all times relevant to
this Complaint by the City of Brockton Police Department and has Badge Number
441,

7. Defendant, Eric Burke, is a police officer employed at all times relevant to
this Complaint by the City of Brockton Police Department and has Badge Number
488.

. 8 That on or about October 18, 2012, as a result of the injuries, Plaintiff served notice

do ‘ to the City of Brockton pursuant to Massachusetts General Laws, Chapter 258,
section 4, that she intended to hold the City of Brockton liable for Alb. 1 \purigs
\)" ") ey sustained. (A true and accurate copy ts attached as exhibit 1). ro

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Clerk of Gaynts

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Case 1:14-cv-10914-NMG Document 5 Filed 03/28/14 Page 4 of 42

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FACTUAL ALLEGATIONS

 

On or about April 26, 2012, Carla Monteiro, the mother of Plaintiff, Ben Silveus,
rented a motor vehicle from Enterprise Rent-A-Car Company, of Boston, LLC.

At that time, Carla Monteiro, observed that the rental car agreement erroneously
failed to list her son, Plaintiff, Ben Silveus as an additional driver.

Carla Montiero insisted that the error be corrected, a new rental agreement was
written which clearly listed her son, Plaintiff, Ben Silveus, as an additional driver on
the rental car agreement.

Carla Monteiro has “unique” handwriting and when she signs her name it appears
to look like “Carolle Manifold”. ‘

On or about April 30, 2012, Plaintiff, Ben Silveus, was operating the Enterprise
Rent-A-Car Company, of Boston, LLC owned vehicle which was rented to Carla
Monteiro on a public way, in Brockton, Plymouth County, Massachusetts.

At'that time, Plaintiff, Ben Silveus, was in the process of returning the rented vehicle
to its owner, Enterprise Rent-A-Car Company, of Boston, LLC, (hereinafter
“Enterprise”).

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At that time, Brockton Police Officer, William Schlieman stopped Plaintiff, Ben
Silveus, for allegedly operating the aforementioned vehicle at a speed above the
legal speed limit.

At that time, Plaintiff, Ben Silveus, accidently handed the Officer the initial rental
contract which did not list Plaintiff as an additional driver.

Plaintiff attempted to explain that he did have a right to operate the vehicle, but
thé officer to listen to Plaintiff’s attempt to show that Plaintiff had a contractual
right to operate the vehicle. :

Plaintiff called the “Enterprise” telephone number which was on the contract, but
the Officer refused to speak with the “Enterprise” representative.

Plaintiff attempted to show the Officer the modified contract which listed Plaintiff
as an additional driver, but the officer refused to look at the modified contract.

Officer Schlieman was then joined by Brockton Police Officer DaSilva, and
Brockton Police Sergeant Celia.

Plaintiff again requested that the Police Officers speak with the “Enterprise” agent
who was patiently waiting to speak with the officers via a connection with

Plaintiffs cell phone.

All three Brockton Officers refused to speak with the “Enterprise” agent.
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Rather, than conduct a reasonable investigation, and protect Plaintiffs property
rights to the leased vehicle, the Brockton Police Officers decided to impound the
vehicle operated by Plaintiff and owned by “Enterprise.”

Plaintiff, Ben Silveus, exercised his constitutional right of free speech and
attempted to prevent the Brockton Police from making an error.

The Brockton Police told Plaintiff, Ben Silveus, to leave the scene or he would be
arrested.

Plaintiff, Ben Silveus, obeyed the Police and began walking away from the
Brockton Police, and the scene.

While leaving the scene, Defendant, Sergeant Mark Celia, attacked Plaintiff, Ben
Silveus, from Plaintiffs blind side using the “arm-bar takedown “ move.

Defendant, Sergeant Mark Celia, knocked Plaintiff, Ben Silveus, off his balance
causing both individuals to fall onto the concrete pavement.

Defendant, Police Officer William Schlieman, put his weight on Plaintiff, Ben
Silveus’, leg.

Defendant, Police Officer Eric Burke, used his baton and beat Plaintiff, Ben Silveus.

Defendant, Police Officer Eric Burke’s, exceptional use of the baton resulted in
Defendant, Police Officer Eric Burke, being partially covered with Plaintiff, Ben ,
Silveus’ blood.

. Asa result of this vicious and brutal attack, Plaintiff, Ben Silveus was in excruciating
pain and suffered bodily harm which would ultimately require surgery.

At the scene Brockton Police Officers called an ambulance for Defendant, Sergeant
Mark:Celia who injured his right knee when he attacked and forced Plaintiff, Ben
Silveus, onto the concrete pavement.

At the'scene Brockton Police Officers refused to call an ambulance for Plaintiff, Ben
Silveus , or provide Plaintiff any other option for medical relief.

At no time during the entire time leading up to the Officers using physical force upon
the person of Plaintiff, Ben Silveus, did Plaintiff threaten to use or actually use
physical force upon anyone, including the Police Officers at the scene.

At no'time during the entire time the Officers used physical force upon Plaintiff, Ben
Silveus, did Plaintiff resist arrest or use physical force.
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| COUNT I
NEGLIGENCE V. the CITY OF BROCKTON (M.G.L.c. 258 Section 2)

Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 39 of this Complaint as if set out in full herein.

At all relevant times, the City of Brockton through its Police Department, acted under color of

law when wrongfully arresting Plaintiff. Ben Silveus, negligently causing him grievous bodily

injury and impounding the motor vehicle owned by Enterprise and which Plaintiff, Ben Silveus
had legal right to operate .

The City of Brockton through its Police Department, failed to conduct a reasonable
investigation, which resulted in wrongful taking ( impounding) of the leased vehicle, used
excessive force upon the person of Plaintiff, Ben Silveus, which amounted to negligence and/or
gross negligence and indifference to Plaintiffs rights. This negligence/gross negligence was the
proximate cause of Plaintiff’s loss or property rights and physical suffering.

The City of Brockton through its Police Department, through its agents and employees, knew or
should have known that of Plaintiff , Ben Silveus’, right to operate the leased vehicle, used
excessive force in wrongfully depriving Plaintiff of the leased vehicle, and causing Plaintiff,
Ben Silveus, .to suffer physical damage to his health and/or safety and further acted in a fashion
that was deliberate indifference to Plaintiff’s health when it refused to provide Plaintiff with
medical reliek,

The City of Brockton through its Police Department is directly liable and responsible for the
acts of its police officers whose acts and/or omissions with respect to the physical harm
suffered by Plaintiff, the deprivation of property rights suffered by Plaintiff, and the lack of
medical care ‘and treatment of provided Plaintiff, Ben Silveus, evidenced a deliberate
indifference to Plaintiff’s medical needs and property rights.

WHEREFORE, Plaintiff, Ben Silveus, respectfully requests this Honorable Court to award
judgment against the Defendant, City Of Brockton, together with interest and costs in actual and
compensatory, damages, punitive damages, and attorney’s fees.

“ COUNT II
* DENIAL OF U.S. CONSTITUTIONAL RIGHTS:

VIOLATION OF THE FEDERAL CIVIL RIGHTS ACT)
| (BEN SILVEUS V. MARK CELIA)

Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 45 of this complaint as if set out in full herein.

47. Plaintiff , Ben Silveus, pursuant to the Fourth Amendment of the United States Constitution has a

right to be freé from unreasonable search and seizures which includes the use of excessive force
during arrest.,
48.

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The actions of Defendant, Mark Celia, while acting within the scope of his employment and
under the authority and color of state law, included the use unnecessary and excessive force
upon the person of Plaintiff, Ben Silveus, violating, Plaintiff Ben Silveus’s civil rights as guar-
anteed by the United States Constitution and as such is responsible for violating the Federal
Civil Rights Act as defined in 42 U.S.C. § 1983

As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Cella, in an

amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages. _

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: COUNT II
VIOLATION OF MASSACHUSETTS CIVIL RIGHTS ACT:
VIOLATION OF M.G.L.c. 12 Section 111
(BEN SILVEUS V. MARK CELIA)

Plaintiff, Ben‘Silveus, incorporates by reference the allegations set forth in paragraphs 1

through 49 of this complaint as if set out in full herein.

Plaintiff, Ben Silveus, pursuant to the Fourth Amendment of the United States Constitution has
a right to be free from unreasonable search and seizures which includes the use of excessive
force during arrest.

‘

The actions of Defendant, Mark Celia, while acting within the scope of his employment and
under the authority and color of state law, included the use unnecessary and excessive force
upon the person of Plaintiff, Ben Silveus, violating, Plaintiff Ben Silveus’s civil rights as guar
anteed by the United States Constitution .

The actions 6f Defendant, Mark Celia, were an interference, or attempted interference, with the
exercise or enjoyment of rights secured by the Constitution of the United States, or of
Massachusetts, by means of threats, intimidation, or coercion.

As a direct and proximate result of the actions of the Defendant, Mark Celia, as alleged herein,
Plaintiff, Ben Silveus, was deprived of his legally protected rights under the Massachusetts
Civil Rights Act in violation of M.G.L.c 12 Section 111.

As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
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he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Celia,, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.

COUNT IV
ASSAULT
(BEN SILVEUS V. MARK CELIA)

56. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 55 of this complaint as if set out in full herein.

57. The intentional and unjustified actions of Defendant , Mark Celia, placed Plaintiff, Ben Sil-
veus, in apprehension of an immediate harmful or offensive contact with Plaintiff's person,
thereby causing an assault upon him.

58. Asaresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Celia, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.

COUNT V
BATTERY
(BEN SILVEUS V. MARK CELIA)

59. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 49 of this complaint as if set out in full herein.

60. The intentional and unjustified actions of Defendant Mark Celia, resulted in a harmful or of-
fensive contact with the plaintiff's person, thereby causing a battery upon him.

61. Asaresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.
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WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Celia, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.

COUNT V1
USE OF EXCESSIVE FORCE
(BEN SILVEUS V. MARK CELIA)

62. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 61 of this complaint as if set out in full herein.

63. The intentional and unjustified use of force by Defendant, Mark Celia , upon the non-resist-
ing person of Plaintiff, Ben Silveus, resulted in Plaintiff suffering severe bodily..

.

64. AS a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

67. That the force used by Defendant,, Mark Celia, upon the person of Plaintiff, Ben Silveus, while
arresting Plaintiff was extreme and excessive.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Celia, in
an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.

COUNT VII
DEFAMATION
(BEN SILVEUS V. MARK CELIA)

68. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 67 ofthis complaint as if set out in full herein.

69. Defendant, Mark Celia, filed a claim against Plaintiff, Ben Silveus’s, Mother with Traveler’s

Insurance Company, Claim Number HRD5765, falsely claiming that Ben Silveus was engaged
in criminal conduct which caused Mark Celia’s injuries to respectable members of the public.

70. Asaresult thereof, Plaintiff, Ben Silveus, was reputation was injured.
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Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 11 of 42

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Celia, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.

COUNT VUI
ABUSE OF PROCESS
(BEN SILVEUS V. MARK CELIA)

71. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 70 of this complaint as if set out in full herein.

72. The Defendant, Mark Celia, did intentionally and knowingly aid in the filing of false criminal
charges against Plaintiff.

73. Defendant, Mark Celia, had the ulterior motive of using the false criminal charges for the pur-
pose of “covering up” his part in the incompetent investigation that lead to impounding the
leased vehicle which was lawfully possessed by Plaintiff, his involvement in use of excessive
force upon the person of the Plaintiff which resulted in extreme bodily injury, and “covering
up” the involvement of his fellow officers use of excessive force upon the person of the Plain-
tiff which resulted in extreme bodily injury .

74. ‘That as a result of the filing of the false criminal charges, Plaintiff incurred attorney fees associ-
ated with his criminal defense.

WHEREF ORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Mark Celia, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
any other statutorily available amounts this Honorable Court determines is fair and just.

| COUNT IV
¥ DENIAL OF U.S. CONSTITUTIONAL RIGHTS:
“VIOLATION OF THE FEDERAL CIVIL RIGHTS ACT)
i (BEN SILVEUS V. WILLIAM SCHLIEMAN

75. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 74 of this complaint as if set out in full herein.

76. Plaintiff , Ben Silveus, pursuant to the Fourth Amendment of the United States Constitution has
a right to be free from unreasonable search and seizures which includes the use of excessive
force during arrest.

77. The actions of Defendant, William Schlieman, while acting within the scope of his employ
ment and under the authority and color of state law, included the use unnecessary and excessive
78.

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force upon the person of Plaintiff, Ben Silveus, violating, Plaintiff Ben Silveus’s civil rights as
guaranteed by the United States Constitution and as such is responsible for violating the Feder
al Civil Rights Act as defined in 42 U.S.C. § 1983

As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant William Schlie-

man, in an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney
fees and punitive damages.

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: COUNT X
VIOLATION OF MASSACHUSETTS CIVIL RIGHTS ACT:
VIOLATION OF M.G.L.c. 12 Section 111
(BEN SILVEUS V. WILLIAM SCHLIEMAN) .

Plaintiff, Ben'Silveus, incorporates by reference the allegations set forth in paragraphs 1

through 78 of this complaint as if set out in full herein.
i

Plaintiff , Ben Silveus, pursuant to the Fourth Amendment of the United States Constitution has
a right to be free from unreasonable search and seizures which includes the use of excessive
force during arrest.

The actions of Defendant, William Schlieman, while acting within the scope of his employ
ment and under the authority and color of state law, included the use unnecessary and excessive
force upon the person of Plaintiff, Ben Silveus, violating, Plaintiff Ben Silveus’s civil rights as
guaranteed by the United States Constitution .

The actions of Defendant, William Schlieman, were an interference, or attempted interference,
with the exercise or enjoyment of rights secured by the Constitution of the United States, or of
Massachusetts, by means of threats, intimidation, or coercion.

As a direct and proximate result of the actions of the Defendant, William Schlieman, as alleged
herein, Plaintiff, Ben Silveus, was deprived of his legally protected rights under the
Massachusetts Civil Rights Act in violation of M.G.L.c 12 Section 111.

As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
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he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant William Schlie-
man, in an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney
fees and punitive damages.

COUNT XI
ASSAULT
(BEN SILVEUS V. SCHLIEMAN)

85. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 84 of this complaint as if set out in full herein.

86. The intentional and unjustified actions of Defendant, William Schlieman, placed Plaintiff, Ben
Silveus, in apprehension of an immediate harmful or offensive contact with Plaintiff's person,
thereby causing an assault upon him.

87. As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREF ORE, Plaintiff, Ben Silveus, demands judgment against Defendant, William Schlie-
man, in an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney
fees and punitive damages.

COUNT XII
BATTERY
(BEN SILVEUS V. WILLIAM SCHLIEMAN)

88. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 87 of this complaint as if set out in full herein.

89. The intentional and unjustified actions of Defendant, William Schlieman , resulted in a harm-
tul or offensive contact with the plaintiff's person, thereby causing a battery upon him.

90. As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of tume and as long as
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 14 of 42

he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, William Schlie-
man, in an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney
fees and punitive damages.

COUNT XU
USE OF EXCESSIVE FORCE
(BEN SILVEUS V. WILLIAM SCHLIEMAN)

91. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 90 of this complaint as if set out in full herein.

92. The intentional and unjustified use of force by Defendant, William Schlieman , upon the non-
resisting person of Plaintiff, Ben Silveus, resulted in Plaintiff suffering severe bodily..

93. As a result thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind. '

94. The intentional and unjustified force used by Defendant, William Schlieman, upon the person of
Plaintiff, Ben Silveus, while arresting Plaintiff was extreme and excessive.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, William Schlie-
man, in an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney
fees and punitive damages.

€ COUNT XIV

ABUSE OF PROCESS
(BEN SILVEUS V. WILLIAM SCHLIEMAN)

95. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 94 of.this complaint as if set out in full herein.

96. The Defendant, William Schlieman, did intentionally and knowingly aid in the filing of false
criminal charges against Plaintiff.
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 15 of 42

97. Defendant, William Schlieman, had the ulterior motive of using the false criminal charges for
the purpose of “covering up” his part in the incompetent investigation that lead to impounding
the leased vehicle which was lawfully possessed by Plaintiff, his involvement in use of exces-
sive force upon the person of the Plaintiff which resulted in extreme bodily injury. and “cover-
ing up” the involvement of his fellow officers use of excessive force upon the person of the
Plaintiff which resulted in extreme bodily injury .

98. That as a result of the filing of the false criminal charges, Plaintiff incurred atiorncy fees associ-
ated with his criminal defense.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, William Schlie-
man, in an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney
fees and any other statutorily available amounts this Honorable Court determines is fair and just.

COUNT XV
DENIAL OF U.S. CONSTITUTIONAL RIGHTS:
‘VIOLATION OF THE FEDERAL CIVIL RIGHTS ACT
© (BEN SILVEUS V. ERIC BURKE)

99. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 98 of this complaint as if set out in full herein.

100. Plaintiff , Ben Silveus, pursuant to the Fourth Amendment of the United States Constitution has
a right to be free from unreasonable search and seizures which includes the use of excessive
force during arrest.

aL
101. The actions of Defendant, Eric Burke, while acting within the scope of his employment and
under the authority and color of state law, included the use unnecessary and excessive force
upon the person of Plaintiff; Ben Silveus, violating, Plaintiff Ben Silveus’s civil rights as guar

anteed by the: United States Constitution and as such is responsible for violating the Federal
Civil Rights Act as defined in 42 U.S.C. § 1983

102. As aresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Eric Burke, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.
104.

105.

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109.

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COUNT XVI
VIOLATION OF MASSACHUSETTS CIVIL RIGHTS ACT:
VIOLATION OF M.G.L.c. 12 Section 111
(BEN SILVEUS V. ERIC BURKE)

Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 102 of this complaint as if set out in full herein.

Plaintiff , Ben Silveus, pursuant to the Fourth Amendment of the United States Constitution has
a right to be free from unreasonable search and seizures which includes the use of excessive
force during arrest.

The actions of Defendant Eric Burke, while acting within the scope of his employment and un
der the authority and color of state Jaw, included the use unnecessary and excessive force upon
the person of :Plaintiff, Ben Silveus, violating, Plaintiff Ben Silveus’s civil rights as guaranteed
by the United States Constitution .

The actions of Defendant, Eric Burke, were an interference, or attempted interference, with the
exercise or enjoyment of rights secured by the Constitution of the United States, or of
Massachusetts, by means of threats, intimidation, or coercion.

As a direct and proximate result of the actions of the Defendant, Eric Burke, as alleged herein,
Plaintiff, Ben Silveus, was deprived of his legally protected rights under the Massachusetts
Civil Rights Act in violation of M.G.L.c 12 Section 111.

As aresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of timg and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREF ORE, Plaintiff, Ben Silveus, demands judgment against Defendant Eric Burke, in an

amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages. ~

COUNT XVII
ASSAULT
(BEN SILVEUS V. ERIC BURKE)

110. Plaintiff, Ben-Silveus, incorporates by reference the allegations set forth in paragraphs 1

through 109 of this complaint as if set out in full herein.
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 17 of 42

111. The intentional and unjustified actions of Defendant, Eric Burke, placed Plaintiff, Ben Silveus,
in apprehension of an immediate harmful or offensive contact with Plaintiff's person, thereby
causing an assault upon him.

112. As aresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Eric Burke, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages. _

COUNT XVIII
. BATTERY
x (BEN SILVEUS V. ERIC BURKE)

113. Plaintiff, Ben:Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 112 of this complaint as if set out in full herein.

114. The intentional and unjustified actions of Defendant, Eric Burke, resulted in a harmful or of-
fensive contact with the plaintiff's person, thereby causing a battery upon him.

115. As aresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Eric Burke, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages. ~

COUNT XIX
USE OF EXCESSIVE FORCE
(BEN SILVEUS V. ERIC BURKE)

116. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs |
through 115 of this complaint as if set out in full herein.
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 18 of 42

117. The intentional and unjustified use of force by Defendant, Eric Burke, upon the non-resisting
person of Plaintiff, Ben Silveus, resulted in Plaintiff suffering severe bodily..

118. Asaresult thereof, Plaintiff, Ben Silveus, was injured, has incurred expenses for medical care
and attendance and has been prevented from engaging in his normal activities for a substantial
period of time and will continue to incur expenses for medical care and attendance and will be
prevented from engaging in his normal activities for a substantial period of time and as long as
he lives, and has suffered great pain of body and anguish of mind, and will continue to suffer
great pain of body and anguish of mind.

119. The intentional and unjustified force used by used by Defendant, Eric Burke, upon the person
of Plaintiff, Ben Silveus, while arresting Plaintiff was extreme and excessive.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Eric Burke, in
an amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
punitive damages.

COUNT XX

ABUSE OF PROCESS
(BEN SILVEUS V. ERIC BURKE)

b
120. Plaintiff, Ben Silveus, incorporates by reference the allegations set forth in paragraphs 1
through 119 of this complaint as if set out in full herein.

121. The Defendant, Eric Burke, did intentionally and knowingly aid in the filing of false criminal
charges against Plaintiff.
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122. Defendant, Eric Burke, had the ulterior motive of using the false criminal charges for the pur-
pose of “covering up” his part in the incompetent investigation that lead to impounding the
leased vehicle which was lawfully possessed by Plaintiff, his involvement in use of excessive
force upon the person of the Plaintiff which resulted in extreme bodily injury, and “covering
up” the involvement of his fellow officers use of excessive force upon the person of the Plain-
tiff which resulted in extreme bodily injury .

123. Thatasa result of the filing of the false criminal charges, Plaintiff incurred attorney fees associ-
ated with his criminal defense.

WHEREFORE, Plaintiff, Ben Silveus, demands judgment against Defendant, Eric Burke, in an
amount which this Honorable Court deems just and reasonable, plus costs, interest, attorney fees and
any other statutorily available amounts this Honorable Court determines is fair and just.
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 19 of 42

PLAINTIFF HEREBY CLAIM A JURY TRIAL IN THE SUPERIOR COURT

DATED: February 18, 2014

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Respectfully submitted,
The Plaintiff, BEN SILVEUS,
By His Attorney,

aniel M. Hutton, Esquire
Law Office of Daniel M. Hutton
Six Cabot Place, Unit 8
Stoughton, MA 02072

(781) 341-4841

BBO No: 631845

     
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October 18, 2012

Brockton City Hall
Law Department
Room 18

45 School Street
Brockton, MA 02301

Re: Our Client: Ben Silveus,

Your Client: Brockton Police Department and various subsequently named officers
DOL: 4/30/12

Dear Honorable City Solicitor Nessralla/Law Department,

Please allow this letter to serve as notice that this office represents Mr. Ben Silveus in his
claim and/or controversy against the city of Brockton. Additionally, please allow this letter to
serve as a formal demand made in compliance with M.G.L.c. 258, Section 4, on behalf of my
client, Mr. Silveus, for the bodily injuries he suffered as a result of excessive force used by the
City of Brockton's Police that occurred on 4/30 /2012. This excessive use of force violated Mr.
Silveus' U.S. Constitutional Rights, his Massachusetts Civil Rights and caused him physical and

emotional sufferiig, bodily injury as well interference use personal property, and financial loss
which includes medical bills.

1. FACTS

On or about April 26, 2012, Carla Monteiro lease a vehicle from Enterprise Rent-a-Car
Company of Boston, LLC. (See Exhibit 1, Contract). Within the contract was a clause which
indicated whether “Additional Authorized Driver(s) Permitted-Permitted Only As Required
By Law And As Described By Paragraph la On Page 2.” Immediately thereafter was typed
“No Other Drivers Permitted”. This, however, was not the intent of Carla Monteiro who wanted
her son, Ben Silveus, listed as an additional authorized driver. On April 26, 2012, Carla
Monteiro observed this omission and had the contract re-written so that her son, Ben Silveus,

6 Casot Pract, Surre $
SroucuTon, MA 02072 PHONE: 781-341-4¢

INFO@VASAHUTTON.COM FAX: 781-341-18
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 22 of 42

copy of the contract (See Exhibit 3).

On or about April 30, 2012, Mr. Silveus, a 23 year old African American Male, was
operating the leased vehicle on West Chestnut Street, Brockton, MA. At that time he was pulled
over by Brockton Police Officer, William Schlieman, (Badge Number 482) for speeding.
Following the officer's request, Mr. Silveus provided his license and registration. Additionally,
he stated to the officer that he was authorized to operate the leased vehicle. Within the vehicle,
Ben Silveus had both the original contract (which failed to list him as a driver) and the
subsequent modified contract (which listed him as a driver). By mistake, Mr. Silveus, handed
the Officer the original contract. The Officer then stated to Mr. Silveus that he had no right to
operate the leased vehicle on grounds that Mr. Silveus was not listed as a driver. Mr. Silveus
then called up “Enterprise”, and had an agent on the phone who wanted to talk to the officer to
clarify the misunderstanding. The Officer refused to speak on the phone with the “Enterprise”
agent. Officer Schlieman was then joined by Police Officer DaSilva, (Badge Number 441), and
Police Sergeant Celia, (Badge Number 228). The Officers, despite having at least one copy of
the contract in front of them which had Enterprise's telephone number on it refused to call
“Enterprise” and instead decided to interfere with my client's leased property rights to the vehicle
by impounding it. The refusal of the Officers to use common sense, and conduct a reasonable
investigation by making one phone call was extremely upsetting to Mr. Silveus. (The obvious
question is whether the Police Officers would have acted in a similar fashion had my client been
a middle aged white woman.) Mr. Silveus continued to argue his case and was placed under
arrest. Let me be.clear, up until this time Mr. Silveus had only exercised his right to free speech
and was in the process of protecting his property rights. Thereafter, the four Police Officers
(Officer Burke joined the previously mentioned Officers) at the scene, decided that Mr. Silveus
had said enough and decided Mr. Silveus should be arrested. Sgt. Celia using an arm bar “take
down” attacked Mr. Silveus. Mr. Silveus was forced down onto the pavement, one Officer put
his weight on Mr. Silveus' legs. One office used his baton on Mr. Silveus. Mr. Silveus was in
excruciating pain after the battery upon his person and was not provided medical treatment by
the Police, nor did they call an ambulance for him. (The Police did get an ambulance for Sgt.
Celia who complained of right knee pain at the scene.) At no time during this attack did Mr.
Silveus use any force to defend himself. The viciousness and brutality of the attack has caused
Mr. Silveus bodily harm which has required medical treatment. The conduct of the Brockton
Police during this entire episode was unprofessional and outrageous.

Il. MEDICAL TREATMENT

On or about May 3, 2012, my client was seen at by the Bridgewater Goddard Park
Medical Associates, located at 110 Liberty Street, Brockton, MA 02301. (The aforementioned
medical provider has since change its name to Signature Healthcare.) During his initial
evaluation, Mr. Silveus complained of neck pain radiating down the left arm to his wrist, neck
stiffness, clicking sensation in the neck/left shoulder area, muscles spams in the neck, and
numbness in the left hand. At that time he was diagnosed with a fractured left shoulder. (See
Attached Exhibit 4) Eventually he was diagnosed with a labral tear. (See Attached Exhibit 5) On
July 19, 2012, Mi. Silveus underwent surgery to repair his shoulder. Mr. Silveus is still treating
for the damages he sustained in the attack. To date his reasonable medical bills resulting from
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 23 of 42

July 19, 2012, Mr. Silveus underwent surgery to repair his shoulder. Mr. Silveus is still treating
for the damages he sustained in the attack. To date his reasonable medical bills resulting from
the attack are $8,960.00.

HI. Disability Period

Mr. Silveus suffered temporary full disability for the period beginning 4/30/12 until the
present date. To date he still suffers from residual pain in his shoulder.

IV, Demand

In light of the medical bills, lost income, injuries, and disability period, denial of
Massachusetts and Federal Constitutional, tortuous interference with property rights Mr. Ben
Silveus demands $300,000.00 in full.

Respectfully,

    

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Daniel M. Hutton, Esq.
The Law Offices Vasa & Hutton
Six Cabot Place, Unit 8
Stoughton, MA 02072

(781) 341-4841

BBO No: 631845

Sent Via -
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ADDITIONAL INFORMATION

 

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SEE PAGE 2, PARAGRAPH 3 FOR INFORMATION ON: VEHICLE LICENSE
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OWNER IS AN AFFILIATE OF ENTERPRISE HOLDINGS INC. WHICH OWNS ALL RIGHTS TO ENTERPRISE NAMES AND MARKS

 

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RECEIPT OF DATE AMOUNT | RECEIVED B)
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© ENTERPRISE RENT-A-CAR COMPANY OF BOSTON, LLC., 20

 

 

 

 

 

 
 

 

 

 

 

 

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Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 31 of 42
SIGNATURE HEALTECARE

Patient BEN SILVEUS MEN: S40715
Encountéer:May = 2OQin 2:45FM DOB: Jan OS, iss8

Reason For Visit
Physical exam has a fractured left shoulder & savs he cant fee] his neck elso has a swoilen left hand.
HPti
He reported: Neck pain radiating down the left arm. neck
spasms in the neck.
Numbness of the left hand.
23 y/o M comes in for a well visit.

Ptis stating that he was beaten up by police on 4/30. Pt went to ER, left arm is in a sling. Pt is also c/o neck pain.

stiff

stiffness. clicking sensation in the neck. and muscle

Vital Signs

Recorded by Sanders,Joslyn on 03 May 2012 03:10 PM

BP:112/78, LUE, Sitting,

HR: 78 b/min,

Height: 68.000000 in, Weight: 166.000000 Ib, BMI: 25.2 kg/m2,

O2 Sat: 98 (%SpO2),

Smoking Status: Never ,

BSA Calculated: 1.89 ,

BMI: 25.16.

Current Meds

Proventil HFA 108 (90 Base) MCG/ACT Inhalation Aerosol Solution, INHALE 2 PUFFS EVERY 4 TO 6 HOURS;
Rx.

Allergies

No Known Dmg Allergies.

Active Problems

Abdominal Pain In The Left Upper Belly (Luq) (789.02); GERD, better, wil refill PPI today, f/u as needed
Cervical Radiculopathy At C5 Nerve Root (723.4); WI] get an MRI, refer to Ortho for further eval.
Cervicalgia (723.1); strain, mild left C5-6 radiculopathy, wil cont PT for 1 month,if not better, will get an MRI.
Constipation (564.00); will start on miralax, fluids, f/u for worsening si/sx

Cough (Symptom) (786.2); has si/sx of acute bronchitis, will tx with ZPak, proair prn, prednisone, f/u for worsening
si/sx

Esophageal Reflux (530.81); better, cont omeprazole 40mg po BID, f/u for worsening si/sx

Joint Pain, Localized In The Left Shoulder (719.41)

Limb Pain (729.5); Left shoulder pain, 7SLAP tear, has an apptmt pending with Ortho.

Lower Back Pain (724.2); strain, will refer to PT, will also have him see Ortho

Preventive Medicine Establ. Patient Checkup Adult 18-39 (V70.0); Pt counselled to exercise, will check
CMP,TSH,FLP,CBC,td 2 yrs ago.

Tooth Pain (525.9); Left lowe molar infenx, amox, asked to f/u with dentist for worsening si/sx.
ROS

Systemic: No recent weight change.

Eyes: No blurry vision Amended: Syed Imam M_D.; 05/19/2012 7:42 PM EST.

Cardiovascular: No chest pain or discomfort Amended : Syed Imam M.D.; 05/19/2012 7:42 PM EST and no
palpitations Amended: Syed Imam M.D.; 05/19/2012 7:42 PM EST.

Pulmonary: No dyspnea and no cough.

Gasirointestinal: Appetite not decreased. No nausea, no vomiting, no abdominal pain, no diarrhea. and no
constipation.

Neurological: No dizziness and no fainting.

Psychological: No msomaia.

Pe

Acute Pharyngitis (462: Will tx with amox, fluids, salt water gargles, fu for worsening si/sx

Preventive Medicine Establ. Patient Checkun Adult 18-29 (V70.0); Pt counselled to exercise, will check

CMP.TSH,FLP,CBC,id 2 vrs ago.

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ormed at Signature Healthcare ~ Brockton Hospital

DATE OF PROCEDURE: 07/19/2012

DATE OF SERVICE:

07/19/12

PREOPERATIVE DIAGNOSIS:

Left shoulder posterior instability, recurrent.

POSTOPERATIVE DIAGNOSIS:

Left shoulder posterior instability, recurrent.

OPERATIVE PROCEDURE:
1. Posterior labral repair.

2. Anterior rotator interval closure with capsulorrhaphy.

3. Subacromial decompression.

SURGEON:

Marshal Armitage, MD

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CERTIFIED MAIL... RECEIPT

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CIV. ‘CTION COMER BHARY- too14. NMGUPERIQRGOER THIBPKOIMENH Page 36/0 |
County: PLYMOUTH PIC — OSsy |!

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 DEFENDANT(S) C TTY OF ERCCTEN

 

 

 

 

 

PLAINTIFF(S) BEN StL VEUS -
_ WIANIAM Sc WW EMAN + SRIC Bure. a
ORNEY FIRM NAME, ADDRES? AND TELEPHONE "ATTORNEY if Known i
AAR nyu LB 08 ESC ST SCY (known). :
Boar Catt a eases OS) ssU CS ;
- , Origin code-and track designation :
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[ {J 1. FOI Original Complaint { |] 4.04 District Court Appeal c. 231, 8. 97 &104 (A fier trial) (Xx)
{ JZ. F02 Removal to. Sup. Ct. C. 23158. 104 _ ( J] 5. F05 Reactivated after rescript; relief from judgment . .
(Before trial) Order (Mass.R-Civ.P. 60) |. (X)
{ ]3. F03 Retransfer to Sup. Ct G 231, 1S. 102C &%) [ J 6. ELO Summary Process ‘Appeal | CO
TYPE OF ACTION AND TRACK DESIGNATION (See reverse side) -
CODE NO. Ix, Py OR ACTION ION Gpecify) TRACK Is THIS AJ URY CASE?
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Ee COS MEM dipAht Ty. (A (4 ves _ ()No-

The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine
money damages. F or this. $form, disregard double or treble damage. claims; indicate single damages only.

 

 
 

  

(Attach additional shepts as Het ap
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A. Documented medical expenses-to date: .. _ COMME: ai,
Total hospital expenses ...........sseseseees a pteacsessseeeseedenes SUPERIOR courrier
Total Doctor expensés sastenecsseeseceeeesooes woe “

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Total physical therapy.expenses .
Total other expenses (describe)

  
  

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Documented lost wages and compensation to date
Documented property damages to date ........ssssececspececersssecseeece

 

 

Reasonably anticipated lost wages .............sscssesssssesseacescnscessensaeeet?
Other documented items of damages (describe)

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TOTAL: §. aie

Brief description of. plaintiff's i injury, including: nati

CONTRACT CLAIMS
(Attach additional sheets as necessary)

Provide a detailed déscription of claim(s):

Clark oi: Cun. “ , : , ” : . .
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PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR
COURT DEPARTMENT ;

“I hereby certify that I have complied with the requirements of Rule 5 of the Supreme Judicial Court Uniform
Rules on Dispute Resolution (SIC ewe 1:18) requiring that I provide my clients with information. about .

court-connected dispute resoluti ices an fie year the advantages and disadvantages of the
various methods.” ~
Vi A . DATE: 3:6:20 oit

 
 

Signature of Attorney of Record ZZ
A. oO. S. C. 3-2007
Case 1:14-cv-10914-NMG Document5 Filed 03/28/14 Page 37 of 42

COMMONWEALTH OF MASSACHUSETTS

PLYMOUTH, SS. SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
BROCKTON DIVISION

\ | domo, WEALTH OF MASS. CHUSETTS
\s \ BEN SILVEUS, | SUPEPIOR COURT DEPT. OF THE “kv, COLT

 

 

 

 

 

  

 

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Plaintiff ) ahr CO! an |
) APPOINTMEN
v. ) SPECIAL PRO Eee e Rvaate |
) UNDER RULE 4€:
THE CITY OF BROCKTON, ) (a
MARK CELIA, WILLIAM )
SCHLIEMAN, and ERIC BURKE, ) ___Clerk of Court

 

 

ow comes Plaintiff, Ben Silveus, and respectfully moves pursuant to Rule 4C of
the Massachusetts’ Rules of Civil Procedure that this Honorable Court appoint, Jerrold
Loomis, Constable, and/or any of his employees, designee’s or servants as process
‘server in this matter, qualified and knowledgeable persons in the service of all court
process, limited to any and all pre-judgment service of process. The undersigned swears
that to the best of,his knowledge and belief the person to be appointed is eighteen years

of age or over and is not a party in th 2

ernie M. Hutton; £ sq.

BBO No: 631845

Law Office of Daniel M. Hutto
Six Cabot Place, Unit 8
Stoughton, MA 02072

(781) 341-4841

  

ORDER OF THE COURT APPOINTING SPECIAL PROCESS SERVER

THIS ACTION CAME ON FOR HEARING BEFORE THE Court, ;
presiding upon Plaintiff’s Motion for appointment of a Person to Serve Process, and thereupon,

consideration thereof, it is Ordered and Adjudged that: Jerrold Loomis, Constable, and/or any
of his employees, designee’s or servants are appointed Special Process Server for the
express purpose of serving any and all prejudgment service of process in this action
pursuant to Rule 4C of the Massachusetts Rules of Civil Procedure.

Dated; / by: _ J

 

 

Title:

 
Case 1:14-cv- SERRE ERA MARSA EHS ES page 38 of 42

County of Plymouth
The Superior Court

CIVIL DOCKET # PLCV2014-00256-A
Courtroom CtRm 5 (72 Belmont Street, Brockton)

Plymouth, ss
RE:  Silveus v The City of Brockton et al

TO: Daniel M Hutton, Esquire
Lipis, Vasa & Hutton, P.C.
6 Cabot Place Unit 8
Stoughton, MA 02072

SCHEDULING ORDER FOR A_ TRACK
You are hereby notified that this case is on the track referenced above as per Superior Court
Standing Order 1-88. The order requires that the various stages of litigation described below must be
completed not later than the deadlines indicated, and case shall be resolved and judgment shall issue by

02/18/2017

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STAGES OF LITIGATION DEADLINES
SERVED BY FILED BY HEARD BY
Service of process made and return filed with the Court | 06/04/2014 06/04/2014
Response to the complaint filed (also see MRCP 12) 07/04/2014
All motions under MRCP 12, 19, and 20 07/04/2014 08/03/2014 09/02/2014
All motions under MRCP 15 04/30/2015 05/30/2015 05/30/2015
All discovery requests and depositions served and 02/24/2016
non-expert depositions completed
All motions under MRCP 56 03/25/2016 04/24/2016
Final pre-trial conference held and/or firm trial date set 08/22/2016
Case shall be resolved and judgment shall issue by 02/18/2017
02/18/2017
* The final pre-trial deadline is not the scheduled date of the conference.
° You will be notified of that date at a later time.
. Counsel for plaintiff must serve this tracking order on defendant before the

deadline for filing return of service.
Dated: 03/06/2014 Robert S. Creedon, Jr.
Clerk of the Court

Telephone: (508) 583-8250 ext. 305

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Disabled individuals who need handicap accommodations should contact the Administrative Office of the Superior Court at (617)
788-8130 --Check website as to status of case: http://ma-trialcourts.org/tcic 1039979 inidoco1 granapri
 

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NOTICE TO DEFENDANT -You need not appear personal!

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COMMONWEALTH OF MASSACHUSETTS
PLYMOUTH, ss. SUPERIOR COURT DEPARTMENT O

THE TRIAL COURT OF THE
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CIVIL ACTION NO. | -256 A

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THE CITY OF BROCIMEL, LARK CELIA 7
Wikihin Sap Ale MAN “AND ERIC Burke Defendant(s) | MA G7 c0l4 |
SUMMONS Vo be
Us by tie fe
To the above-named defendant: MARK (ei! k, f
You are hereby summoned and required to serve uponcl BW ESR" pldintit]— ———

attorney, whose address is Ge. CABLE PLAC, (AMT, S4. SRUMEN AM, C207 Zan answer to the complaint
which is herewith served upon you, within 20 days after service of this summons upon you, exclusive of the
day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint. You are also required to file your answer to the complaint in the office of the Clerk of this
Court at Brockton either before service upon plaintiff attorney or within a reasonable time thereafter. -

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff - which arises out of the transaction or occurrence that is the subject
matter of the plaintiff claim or you will thereafter be barred from making such claim in any other action.

 

Witness, Barbara J. Rouse Esquire, at Brockton the a) ih day of

Mertds, , in the year of our Lord Two thousand anal GURIGEN

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NOTES ‘

i. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
When more than one defendant is involved, the names of all defendants should appear in the caption.
If a separate summons is used for each defendant, each should be addressed to the particular

defendant. .
3. To the plaintiff's attorney: please circle type of action involved-Tort-Motor Vehicle Tort-Contract-

Equitable Relief-Other. ; ;
’ PROOF OF SERVICE OF PROCESS
I hereby certify and return that on od. verveeey 209%, I served a copy of the within summons

together with a copy with a copy of the complaint in this actions upon the within-named. defendant , in the
- following manner(See Mass. R. Civ. P. 4(d)(1-5): se. Le TBR EME OL

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NOTICE TO DEFENDANT -You need not appear personall

attorney must serve a copy of your written answer within 20

days as specified herein and also fi

- following manner(See Mass. R. Civ. P. 4(d)(1-5):

COMMONWEALTH OF MASSACHUSETTS
PLYMOUTH, ss. SUPERIOR COURT DEPARTMENT 0
THE TRIAL COURT OF THE
COMMONWEALTH
CIVIL ACTIONNO. {4f 256A

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PEN) Sip EUs Plaintifi(s) COMMC:JWEALTH OF MASSACHUSETTS
, SUPERIOR COURT DEPT. OF THE TRIAL COURT
. PLYMOUTH COUNTY
vs. “|
THE CITY OF BRECK, MARK CELIA, MAR 07 2014 |
WIbhiAM CHHEUAN + ERIC BURKE Defendant(s) es
. SUMMONS J
. r
To the above-named defendant: Witham Sct HeMAn cee of Court
You are hereby summoned and r nee UA to serve upon. LAN Jl. MM. NT) Wwe ceeswettcoe see plaintiff
atforney, whose address is G..GABQI.PIACE UNITS, SRK SmKallad,, MA.03¢% an answer to the complaint

which is herewith served upon you, within 20 days after service of this summons upon you, exclusive of the
day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint. You are also required to file your answer to the complaint in the office of the Clerk of this
Court at Brockton either before service upon plaintiff attorney or within a reasonable time thereafter. -

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff - which arises out of the transaction or occurrence that is the subject
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Witness, Barbara J. Rouse Esquire, at Brockton the .c SiXTAL day of

MAgCH , in the year of our Lord Two thousand and eugrecs)

1. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.

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3. To the plaintiff's attorney: please circle type of action involved-Tort-Motor Vehicle Tort-Contract-

Equitable Relief-Other.
' PROOF OF SERVICE OF PROCESS
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- following manner(See Mass. R. Civ. P. 4(d)(1-5) sett... ALhLLG &

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COMMONWEALTH OF MASSACHUSETTS
PLYMOUTH, ss. SUPERIOR COURT DEPARTMENT OF
THE TRIAL COURT OF THE
COMMONWEALTH
CIVIL ACTIONNO. |¥-256 A

 

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COMMO. WEALTH OF MASS, CHUSETTS
BEN AUVEUS , Plaintiff(s) SUPERIOR COURT DEPT. OF THE TRIAL COU3T
__ PLYMOUTH COUNTY

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CY oF BRECHTON, MARK @CLIA MA? 07 2014

 

 

 

 

 

QOIAKIAM SCHUEMAN + ERIC BURKE Defendant(s) pag
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| SUMMONS (BP Cty.
To the above-named defendant: CiTy oF Reeth Clerk of Court

You are hereby summoned and required to serye upons2RM ih. M. Hurren) plaintiff
attorney, whose address is (@.CABDT. PING, UNIT ©, STOUGHTON. NMA 02072, an answer to the complaint
which is herewith served upon you, within 20 days after service of this summons upon you, exclusive of the
day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in
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you may have against the plaintiff ' which arises out of the transaction or occurrence that is the subject
matter of the plaintiff claim or you will thereafter be barred from making such claim in any other action.

Witness, Barbara J. Rouse Esquire, at Brockton the OLX Yh day of

Mace, , in the year of our Lord Two thousand and Szorcleon.. .

This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
‘When more than one defendant is involved, the names of all defendants should appear in the caption.
If a separate summons is used for each defendant, each should be addressed to the particular

defendant.
3. To the plaintiff's attorney: please circle type of action involved-Tort-Motor Vehicle Tort-Contract-

Equitable Relief-Other. . .
’ PROOF OF SERVICE OF PROCESS
eer

I hereby certify and return that on TL. ‘ » 208%, I served a copy of the within summons

together with a copy with a copy of the complaint in this action, upon the within-named defendant, in the
4.

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Dated: Bl? 200 %.
N.B. TO PROCESS SERVER:- SHC PUL SEE

‘PLEASE PLACE DATE YOU MAKE SERVICE ON DEFENDANT IN THIS BOX ON THE
ORIGINAL AND ON COPY SERVED ON DEFENDANT. .

lr. . 209 ¥

 

 

 

 

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, either you or your

s office at Brockton.

, but if you claim to have a defense

y in court to answer the complaint

NOTICE TO DEFENDANT -You need not appear personall

 

days as speci

attorney must serve a copy of your written answer within 20

LOI. SCHEMAN, auf ERIC Burne , Defendant(s)

fied herein and also file the original in the Clerk?

- following manner(See Mass. R. Civ. P. 4(d)(1-5) ..sec0L se TEMG ua LR

3h ts. 1:14-cv-10914-NMG Document 5 Filed 03/28/14 Page 42 of 42

COMMONWEALTH OF MASSACHUSETTS
PLYMOUTH, ss. SUPERIOR COURT DEPARTMENT OF
THE TRIAL COURT OF THE
COMMONWEALTH
CIVIL ACTION NO. }4] - 246-A

FILED
AVE COMMONWEALTH OF MASS-.GHUSET?S
BEN... LANES » Plaintif{(s) SUPERIOR COURT DEPT, OF THE TRIAL COL”
PLYMOUTH C0" INT?

Coy ce BREN , MARK CELA, MAR G7 2014 |

 

SUMMONS Gimcs,

To the above-named defendant: ERIC BukekKe Clerk of Ke
on LAN) CLM. MutTon Ea, ; plaintiff

You are hereby summoned and 4 uired to aL u
attorney, whose address is GL: ABOL?. PE YUL. S58 . PACE ALA. £20 L2,-an answer to the complaint
which is herewith served upon you, within 20 days after: service of this summons upon you, exclusive of the
day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint. You are also required to file your answer to the complaint in the office of the Clerk of this
Court at Brockton either before service upon plaintiff attorney or within a reasonable time thereafter. -

 

 

 

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff - which arises out of the transaction or occurrence that is the subject
matter of the plaintiff claim or you will thereafter be barred from making such claim in any other action.

Witness, Barbara J. Rouse Esquire, at Brockton the day of

, in the year of our Lord Two thousand an .......sssssssoserss «

(Hted Lauren)

 

NOTES

I This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.

2. When more fhan one defendant is involved, the names of all defendants should appear in the caption.
If a separate summons is used for each defendant, each should be addressed to the particular
defendant. .

3. To the plaintiff's attorney: please circle type of action involved-Tort-Motor Vehicle Tort-Contract-
Equitable Relief-Other. ; ;

' PROOF OF SERVICE OF PROCESS
I hereby certify and return that on TL.Z saseoveey 20904, I served a copy of the within summons

 

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of

together with a copy with a copy of the complaint in this action, upon the
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Dated: 3 (7 200% PLE SS Leet

N.B. TO PROCESS SERVER:- SEM fated Sabena
“PLEASE PLACE DATE YOU MAKE SERVICE ON DEFENDANT IN THIS BOX ON THE

ORIGINAL AND ON COPY SERVED ON DEFENDANT.

 

 

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